Case 1:17-ev-O4179-DLC Doeument 104 Filed 04/10/18 Page 1 of 2

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Honorable Denise L. Cote HLEC'§V:"§{.;?NE§‘&-i fill PHMED
United States District Court D{}C gsa
Soutiiern District ofNeW York tr q 44 "` ;_r~., "`"_:"'"":"'"""`§
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New York, New York 10007
Re: SEC v. Afpz'ne Secw‘z`tfes Corp., Civii No. l:l7-ev-O4I79~DLC

STIPULATEI) LETTER MOTION REOUESTING ONE-WEEK EXTENSION, UNTIL
APRIL 20 2018 TO FILE A M()TION FOR RECONSIDERATION OF THIS COURT’S
MARCH 30, 2018 OPINION AND ORDER

Dear Judge Cotc: W -

Defendant Alpine Seeurities Corporation (“Aipine”) is requesting a one-Weei< extension
to file a Motion for Reconsideration of the summary judgment rulings in the Court’s March 30,
2018 Opinion and Order (the “Opinion”) pursuant to Loeal Rule 6.3. Pursuant to Local 6.3,
“[u]nless otherwise provided by the Com~t or by statute or rule (such as Fed. R. Civ. P. 50, 52,
and 59), a notice of motion for reconsideration or reargument of a court order determining a
motion shall be served within fourteen (14) days after the entry of the Court’s determination of
the original motion . . .” S.D.N.Y. Ruie 6.3 (einphasis added). Additional time is necessary as
Alpine is evaluating whether to file a Motion and assessing the Opinion and applicable case law.

 

   

Alpine has conferred With the counsel for Plaintiff Securitics and Exchange Cornmission.
The Corninission states that, as a professional courtesy, it Would not oppose a 7-day extension of
the time allowed by Ruie 6.3.

Pui'suant to the Court’s lndividual Practices l.E:

l. The original due date for a Motion for Reconsideration pursuant to Locai Rule 6.3 is
Apri113,2018.

2. This is Alpine’s first request foran extension of time in filing a Motion for
Reconsideration pursuant to Local Ruie 6.3.

3. The new deadline for a Motion for Reconsideration Will be April 20, 2018.

4. The SEC does not object to Alpine’s request

Maranda.Fl*ilz@TEiompsoni-line.com Fax:212.344.6101 Plione: 212.903.3966

 

THOMPSON HINE LLP 335 Madison Avenue ww\v.".{hompsonI-iine.com
ATTORN Evs )\'r L¢\w 12th Floor O: 212.344.5630
New York, New York 10017-4611 F: 212.344.61()1

 

Case 1:17-ev-O4179-DLC Doeument 104 Filed 04/10/18 Page 2 of 2

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Honorable Denise L. Cote
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Page 2

Alpine respectfully requests that the Court approve an extension of time to tile a Motion

for Reconsideration of the Court’s Opinion to April 20, 2018.

Respectfully,
THOMPSON HINE

/S/ Maranda E. Frz`fz
Maranda E. Fritz

 

cc: Counsel of Record (via CM/ECF)

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